     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


MELANIE MANN,                                  )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )       Civil Action No.
                                               )
DAL GLOBAL SERVICES, LLC,                      )       JURY TRIAL DEMANDED
d/b/a UNIFI, a foreign corporation,            )
                                               )
Defendant                                      )

                                    COMPLAINT

      Plaintiff Melanie Mann (“Plaintiff”), by and through her undersigned

counsel, brings this Complaint to correct unlawful retaliation practices by

Defendant DAL Global Services, LLC d/b/a Unifi (“DGS”).

      1.     This is an action involving the violation of Plaintiff’s federal

statutory rights under the Age Discrimination in Employment Act of 1967, as

amended, 29 U.S.C. § 621, et seq. (“ADEA”), Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e, et seq. (“Title VII”) for retaliation.

                          JURISDICTION AND VENUE

      2.      This Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. § 1331 (federal question jurisdiction).




                                           1
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 2 of 10




      3.     Venue is proper is proper in the Northern District of Georgia under

28 U.S.C. § 1391 (b) (1) and (2) because a substantial part of events or omissions

giving rise to the claims occurred within the jurisdiction of this Court and

because DGS is located in this District and is subject to personal jurisdiction in

this District.

      4.     In accordance with Title VII and the ADEA, Plaintiff timely filed a

Charge of Discrimination with the U.S. Equal Employment Opportunity

Commission, received her Notices of Right to Sue (NRTS), and now, timely files

this Complaint. Thus, all conditions precedent to the institution of this lawsuit

have been fulfilled.

                                    PARTIES

      5.     Plaintiff is a former employee of DGS.

      6.     On July 17, 2020, Plaintiff filed a federal lawsuit against it for

discrimination in violation of Title VII and the ADEA in the United States District

Court for the Northern District of Georgia.

      7.     DGS is a Delaware corporation with a principal place of business

located at 980 Virginia Avenue, 4th Floor, Atlanta, Georgia 30354.

      8.     DGS conducts business in this District and throughout the nation.

      9.     In late 2018, Delta Air Lines sold a majority stake of its wholly

owned subsidiary, DGS, to Argenbright Holdings, LLC which is owned by Frank


                                        2
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 3 of 10




A. Argenbright. In early 2020, DGS rebranded as “Unifi.” Headquartered in

Atlanta, DGS provides services such as aircraft ground handling, aircraft

maintenance, cargo handling, and other aviation-related services servicing over

170 airports within the United States. DGS provides services to multiple airlines.

      10.   At all relevant times, Plaintiff was an “employee” of DGS within the

meanings of Title VII and ADEA.

      11.   At all relevant times, DGS was a business entity employing fifteen

(15) or more persons, and is an “employer” within the meanings of Title VII and

the ADEA.

      12.   This Complaint can be served on DGS through its registered agent,

Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners,

Georgia 30092.

                          FACTUAL ALLEGATIONS

      13.   Plaintiff worked as Executive Assistant to former DGS President,

Adam Taylor (“former President Taylor”) at DGS’s location at 980 Virginia

Avenue, Atlanta, Georgia 30354.

      14.   Plaintiff’s job duties included day to day management of President

Taylor’s calendar and meeting schedule, setting up and coordinating meetings,

supporting President Taylor and the leadership team, participating in business

planning meeting, assisting in the execution and coordination of business


                                        3
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 4 of 10




meetings, preparing presentations, reviewing and organizing President Taylor’s

e-mail/voice mail across three platforms, liaising with other service providers,

including IT as required.

      15.   At all relevant times, Plaintiff had the skills to perform her job and

successfully did perform her job duties.

      16.   As part of her job duties as an executive assistant, former President

Taylor arranged for Plaintiff to have access to his email box which contained his

email and voicemail which “dropped” into his email box from the company’s

voicemail system. Former President Taylor also required that Plaintiff listen to

his voicemail messages on the company’s voicemail system.

      17.   Other executive assistants had access to the email and voicemail of

the executive for whom they worked in the same manner as Plaintiff.

      18.   Because Mr. Argenbright did not want Delta to have access to the

email of the DGS executives he hired to replace the Delta DGS executives, he

provided them with email addresses from his company, SecurAmerica, LLC.

This allowed the emails and voicemail to be retained on SecurAmerica’s server,

which he controlled, as opposed to Delta’s server.

      19.   Therefore, while executives at DGS were given Delta email

addresses, they communicated with SecurAmerica email addresses.




                                           4
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 5 of 10




      20.   In order for former President Taylor to access his SecurAmerica

email, he required Plaintiff to use her laptop and create an Outlook box for him.

Because former President Taylor had been without an executive assistant for

months, he required Plaintiff to organize every email and voicemail he received

from the beginning of his employment with DGS.

      21.   Mr. Argenbright routinely stated that he was looking for “quicker,

faster, smarter, younger” employees.

      22.   Mr. Argenbright also favored trying to hire persons who were

Chinese or Indian over hiring equally qualified persons who were Caucasian or

African American.

      23.   Mr. Argenbright believes that persons who are Chinese or Indian are

smarter than other races, including Caucasians and African Americans.

      24.   When describing the type of employee that he was looking to hire,

Mr. Argenbright’s external slogan was that he was looking for employees who

were “quicker, faster, smarter.”

      25.   However, internally, Mr. Argenbright repeatedly stated that he was

looking for employees who were “quicker, faster, smarter, younger.”

      26.   At times, Mr. Argenbright would state that he was looking for

employees who were “quicker, faster, smarter, blank.” Employees, including

DGS executives, knew that when Mr. Argenbright used the word “blank” in this


                                        5
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 6 of 10




context, he meant “younger.” And, he, in fact, did use the word “blank” to mean

“younger.”

      27.    On more than one occasion, former President Taylor heard Mr.

Argenbright state that he was looking to employ individuals who were “quicker,

faster, smarter, younger.”

      28.    On more than one occasion, former President Taylor heard Mr.

Argenbright state that he was looking to employ individuals who were “quicker,

faster, smarter, blank” and former President Taylor understood that in this

context that Mr. Argenbright meant the word “blank” to mean “younger.”

      29.    On more than one occasion, former President Taylor heard Mr.

Argenbright state that he was interested in hiring Chinese and Indian employees

over equally qualified Caucasian and African American employees.

      30.    Former President Taylor received voicemail messages from Mr.

Argenbright stating that he was looking for “quicker, faster, smarter, blank”

and/or “quicker, faster, smarter, younger” employees.

      31.    Plaintiff was very concerned when she heard Mr. Argenbright’s

statements and messages about wanting younger employees.

      32.    Plaintiff spoke with former President Taylor on several occasions

and told him that she did not meet Mr. Argenbright’s model employee of

“younger.”


                                       6
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 7 of 10




      33.    Former President Taylor told Plaintiff that he would try to protect

her from Mr. Argenbright’s creation of a company with a specific type of

employee – one who was “quicker, faster, smarter, younger.”

      34.    On October 18, 2020, DGS terminated Plaintiff claiming she said

“fuck off” to DGS’s General Counsel.

      35.    Plaintiff did not say “fuck off” to DGS’s General Counsel.

      36.    On July 17, 2020, Plaintiff filed a lawsuit against DGS alleging that

DGS terminated her on the basis of age in violation of the ADEA and/or race in

violation of Title VII.

      37.    Plaintiff alleged that Mr. Argenbright created a discriminatory

culture and Plaintiff was required to listen to dozens of voicemail messages from

Mr. Argenbright making discriminatory statements.

      38.    DGS filed sued and continues to pursue five counterclaims against

Plaintiff in retaliation for her protected activity of filing an EEOC Charge of

Discrimination and filing a federal lawsuit.

      39.    Defendant asserts two counterclaims Count IV (conversion) and

Count V (tortious of interference) which futile, frivolous and filed solely in

response to her lawsuit against it.




                                         7
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 8 of 10




      40.       Additionally, Defendant asserts claim(s) alleging that Plaintiff

accessed DGS’s email system months after her termination while knowing this is

false or not retracting the claim(s) upon learning that is untrue.

                         COUNT I – ADEA – RETALIATION

      41.       Plaintiff repeats and incorporates by reference the above paragraphs

above as set fully herein.

      42.       The ADEA prohibits an employer from retaliating against any of its

former employees for opposing any employment practice made unlawful by the

ADEA, including, but not limited to, filing a complaint in federal court. 29

U.S.C. § 621.

      43.       DGS’s actions, as detailed above, in filing its untrue, futile, and/or

frivolous counterclaims against Plaintiff because of her protected activity of filing

a lawsuit constitutes unlawful intentional retaliation in violation of the ADEA.

      44.       DGS willfully and recklessly disregarded Plaintiff’s federally

protected rights.

      45.       Accordingly, DGS is liable for all damages Plaintiff has sustained as

a result of DGS’ unlawful retaliation.

                       COUNT II – TITLE VII RETALIATION

      46.       Plaintiff repeats and incorporates by reference the above paragraphs

above as set fully herein.


                                            8
     Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 9 of 10




      47.    Title VII prohibits an employer from retaliating against any of its

former employees for opposing any employment practice made unlawful by the

Title VII, including, but not limited to, filing a complaint in federal court. 42

U.S.C. § 2000e, et seq.

      48.    DGS’s actions, as detailed above, in filing its untrue futile, and/or

frivolous counterclaims against Plaintiff because of her protected activity of filing

a lawsuit constitutes unlawful intentional retaliation in violation of Title VII.

      49.    DGS willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against her was undertaken in bad faith.

      50.    Accordingly, DGS is liable for damages to Plaintiff, including,

compensatory damages, punitive damages, injunctive relief, attorney’s fees and

costs, and all other appropriate damages, remedies, and other relief available

under the Title VII.

                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays for judgment in her favor in the

form of an Order of this Court: Awarding Plaintiff damages including, but not

limited to, declaratory, liquidated, compensatory, punitive, reasonable attorneys’

fees and expenses, and all other relief permitted under the ADEA and/or Title

VII and any further relief as the Court deems just and proper.

      Respectfully submitted this 19th day of September, 2021.


                                          9
Case 1:21-cv-03862-WMR-RGV Document 1 Filed 09/19/21 Page 10 of 10




                              MARTIN & MARTIN, LLP

                              By:    /s/Kimberly N. Martin
                                     Kimberly N. Martin
                                     kimberlymartinlaw@gmail.com
                                     Georgia Bar No. 473410

                                     MARTIN & MARTIN, LLP
                                     Post Office Box 1070
                                     Tucker, Georgia 30085
                                     (404) 313-5538




                                10
